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United States District Court
District of Massachusetts

Kyle N. Robert,
Plaintiff,

Civil Action No.
v. 23-CV-12206-NMG
Raytheon Tech. Corp.,

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

Plaintiff Kyle N. Robert (“Robert” or “plaintiff”) filed an
initial complaint against his former employer, defendant
Raytheon Technologies Corporation (“Raytheon” or “defendant”).
Robert alleged several violations of his equal protection and
due process rights under the U.S. Constitution and Massachusetts
Declaration of Rights, Mass. G.L. ch. 151B (“Chapter 151B”) as
well as Title VII of the Civil Rights Act of 1964, 42 U.S.C.5. §
2000e et seg. (“Title VII”). As required by statute, plaintiff
had first filed a Charge of Discrimination with the
Massachusetts Commission Against Discrimination (“MCAD”) and
Equal Employment Opportunity Commission (“EEOC”) before filing

his claim in this Court.
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Raytheon moved to dismiss all of Robert’s claims pursuant
to Fed. R. Civ. P. 12(b) (6). In April, 2024, this Court allowed
that motion but permitted plaintiff to file an amended complaint
as to the retaliation claim under Title VII and Chapter 151B.

Plaintiff then filed an amended complaint that contains a
single retaliation claim. Defendant now seeks to dismiss that
complaint with prejudice for failure to state a claim. For the
reasons that follow, the Court will allow that motion.

I. Background

According to the amended complaint, plaintiff was employed as
a senior principal software engineer at Raytheon in Marlborough,
Massachusetts. In September, 2021, Raytheon announced a mandatory
COVID-19 vaccine policy that required all employees to report
their vaccination status by October 15, 2021 and to be fully
vaccinated by January 18, 2022. Employees could request a
religious or medical exemption from the otherwise mandatory
policy. In October, 2021, Robert filed a religious exemption
request form, which made no mention of any COVID-19 testing
policy. Robert asserts that he did not receive a response to his
exemption request.

The amended complaint alleges that, in or about December,
2021, Raytheon notified employees that all unvaccinated employees

would be required to test weekly for COVID-19 beginning January 4,

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2022, regardless of whether they sought a vaccination exemption.
Employees were notified that if they failed to comply with the
testing requirements, they would have 24 hours to test or
otherwise be terminated. After the testing policy was announced,
a Raytheon representative informed Robert that his vaccine
exemption request had been conditionally approved. Later that
same day, however, Robert purportedly learned that his request
would ultimately be denied.

Robert declined to comply with the COVID-19 testing
requirement and offered instead to mask on-site or work remotely.
Raytheon terminated Robert on January 7, 2022, due to his failure
to comply. Robert alleges that his termination was, in fact,
motivated by his request for a religious exemption to Raytheon’s
vaccine policy and his objection to the weekly COVID-19 testing
requirement.

II. Legal Standard

To survive a motion to dismiss under Fed. R. Civ. P.
12(b) (6), the subject pleading must contain sufficient factual
matter to state a claim for relief that is actionable as a

matter of law and “plausible on its face.” Ashcroft v. Igbal,

556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A claim is facially plausible if,

after accepting as true all non-conclusory factual allegations,

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the court can draw the reasonable inference that the defendant

is liable for the misconduct alleged. Ocasio-Hernandez v.

Fortuno-Burset, 640 F.3d 1, 12 (1st Cir. 2011).

A court may not disregard properly pled factual allegations
in the complaint even if actual proof of those facts is

improbable. Ocasio-Hernandez, 640 F.3d at 12. Rather, the

court’s inquiry must focus on the reasonableness of the
inference of liability that the plaintiff is asking the court to
draw. Id. at 13.

III. Application

Title VII and Chapter 151B generally make it unlawful for
employers to retaliate against employees who complain about
discriminatory employment practices. 42 U.S.C. § 2000e-3(a);
Mass. Gen. Laws ch. 151B, § 4(4). Under either statute,

a plaintiff must show that (i) [he] undertook

protected conduct, (ii) [he] suffered an adverse

employment action, and (iii) the two were causally
linked.

Noviello v. City of Boston, 398 F.3d 76, 88 (1st Cir. 2005).

The United States Supreme Court recently explained that in a
Title VII retaliation claim, the plaintiff must show that the
protected activity was the but-for cause of the adverse

employment action. Univ. of Tex. Sw. Med. Ctr. v. Nassar, 570

U.S. 338, 360 (2013).
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This Court dismissed Robert’s original retaliation claim
because his complaint did not sufficiently link his termination
to the alleged discriminatory conduct (i.e., Raytheon’s
requirement that only unvaccinated employees be tested). Robert
did not allege that he raised religious objections to the
testing regime itself, but only to the overall vaccination
requirement. He further acknowledged that the testing
requirement applied to “all unvaccinated employees”, regardless
of their accommodation status.

The first amended complaint (“FAC”) fares no better. While
Robert alleges that he opposed the testing policy on the basis
of his sincerely held religious beliefs, he does not allege that
he actually raised belief-based objections to the testing policy
with Raytheon. The FAC, when liberally construed, may insinuate
that Robert raised an objection but any such insinuation is
directly contravened by the investigation disposition that
resulted from Robert’s MCAD Charge.! The investigation found
that Robert did not assert any connection between his refusal to
participate in COVID-19 testing and his religious beliefs.

Raytheon could not have fired Robert for his religious objection

1 This Court may “take judicial notice of the MCAD's decision without
converting [the] motion [to dismiss] to one for summary judgment.” Wong v.
Resolve Tech., No. 10-cv-11642-DJC, 2011 WL 3157198, at *2 n.4 (D. Mass. July
25, 2011).

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to the testing policy if it was unaware that he objected to
testing in the first place.

Robert now attempts to preserve his complaint by contending
that his termination was motivated by his initial religious
objection to Raytheon’s vaccination policy. Robert again
concedes, however, that the subsequent testing policy and the
associated dangers of noncompliance applied to all unvaccinated
employees, regardless of whether they requested a religious
exemption. The facts alleged in the FAC itself make clear that
Robert was terminated because he failed to comply with a
company-wide testing policy, not because of his protected

activity. See Sharikov v. Philips Med. Sys. MR, Inc., No. 23-

407-cv, 2024 WL 2820927, at *1171 (2d Cir. June 4, 2024)
(finding no retaliation claim where complaint showed plaintiff
was terminated because he refused to comply with company-wide
vaccine policy that followed his engaging in protected

activity).
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ORDER
For the foregoing reasons, defendant’s motion to dismiss

(Docket No. 22) is ALLOWED.

So ordered.

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Nathaniel M. Gorton
United States District Judge

Dated December 2. 2024
